Case 1:19-cv-22908-MGC Document 31 Entered on FLSD Docket 10/24/2019 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 19-22908-Civ-COOKE/GOODMAN

QUEENS HOSPITALITY CORP.,
a Florida corporation,

Plaintiff,
vs.

BREAKFAST BITCH, LLC, a
California limited liability company

Defendant.
/
PLAINTIFF’S NOTICE OF STRIKING DOCKET ENTRY 29

Plaintiff, by and through undersigned counsel, hereby files this Notice of Striking

 

Docket Entry 29 and in support states as follows:
1. On October 24, 2019, Plaintiff filed their Plaintiff's Notice of Filing Proposed

Mediator. In doing so, there was an error wherein the filing did not match the

selected event.
2. Plaintiff will e-file this notice a second time under Docket Entry 32.
WHEREFORE, Plaintiff, by and through undersigned counsel,_request this Court to

strike Docket Entry 29 as moot. Y
Respéctfully sybrt thea?

Brenda_J.Sehamy

DiSchino & Schamy, PLLC
Attorneys for Plaintiff

Florida Bar No. 102829

4770 Biscayne Blvd. Suite 1280
Miami, Florida 33137
Telephone: (786) 581-2542
brenda@dsmiami.com

 
Case 1:19-cv-22908-MGC Document 31 Entered on FLSD Docket 10/24/2019 Page 2 of 2

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on October 24, 2019, I electronically filed the foregoing
with the Clerk of the Southern District Court using its CM/ECF system, which would then
electronically notify the following CM/ECF participants on this case:

Ben T. Lila, Esq.

Mandour & Associates, APC

8605 Santa Monica Blvd., Suite 1500
Los Angeles, CA 90069

Telephone: 858-487-9300
bliia@mandourlaw.com

Matthew S. Nelles, Esq.

Nelles Kostencki PLLC

110 E. Broward Blvd., Suite 670
Fort Lauderdale, FL 33301
Telephone: 954-246-4800
mnelles@nklawflorida.com

Adriana Kostencki, Esq.

Nelles Kostencki PLLC

110 E. Broward Blvd., Suite 670
Fort Lauderdale, FL 33301
Telephone: 954-246-4800
akostencki@nklawflorida.com

Attorneys for Defendant

By: /s/Brenda J. Schamy/
Brenda J. Schamy

Florida Bar No. 102829
DiSchino & Schamy, PLLC
4770 Biscayne Blvd., Suite 1280
Miami, Florida 33137
Telephone: (786) 581- 2542
brenda@dsmiami.com
Attorney for Plaintiff
